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        United States Court of Appeals
             for the Fifth Circuit
                                                               United States Court of Appeals
                                                                        Fifth Circuit


                            ___________FILED
                                                               February 11, 2025
                             No. 24-40248                        Lyle W. Cayce
                            ___________                               Clerk

M. D., by next friend Sarah R. Stukenberg; D. I., by next
friend Nancy G. Pofahl; Z. H., by next friend Carla B.
Morrison; S. A., by next friend Javier Solis; A. M., by
next friend Jennifer Talley; J. S., by next friend Anna J.
Ricker; K. E., as next friend John W. Cliff, Jr.; M. R., as next
friend Bobbie M. Young; J. R., as next friend Bobbie M. Young;
H. V., by next friend Anna J. Ricker; P. O., as next friend
Anna J. Ricker; L. H., as next friend Estela C. Vasquez; C. H.,
by next friend Estela C. Vasquez; S. R., as next friend Bobbie
M. Young; S. S., as next friend Estela C. Vasquez; A. R., as next
friend Tom McKenzie, individually and on behalf of all others similarly
situated,

                                                      Plaintiffs—Appellees,

                                 versus

Greg Abbott, in his official capacity as Governor of the State of Texas;
Cecile Erwin Young, in her official capacity as Executive Commissioner
of the Health and Human Services Commission of the State of Texas;
Stephanie Muth, in her official capacity as Commissioner of Texas
Department of Family and Protective Services,

                                       Defendants—Appellants.
               ______________________________

              Appeal from the United States District Court
                  for the Southern District of Texas
                        USDC No. 2:11-CV-84
              ______________________________
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              ON PETITION FOR REHEARING EN BANC

Before Jones, Clement, and Wilson, Circuit Judges.
Per Curiam: ∗
        The petition for rehearing en banc is DENIED. At the request of
one of its members, the court was polled, and a majority did not vote in favor
of rehearing (Fed. R. App. P. 40 and 5th Cir. R. 40).
        In the en banc poll, five judges voted in favor of rehearing (Judges
Stewart, Graves, Higginson, Douglas, and Ramirez), and
nine judges voted against rehearing (Judges Jones, Smith, Richman,
Southwick, Haynes, Willett, Duncan, Engelhardt, and
Wilson).




        ∗
            Chief Judge Elrod, and Judges Ho and Oldham did not participate in
the consideration of the rehearing en banc.




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Stephen A. Higginson, Circuit Judge, joined by Stewart, Graves,
and Douglas, Circuit Judges, dissenting from denial of rehearing en banc:

       I would grant the petition for rehearing. The panel opinion conflicts
with prior decisions from the Supreme Court and this court, and the
questions raised are of substantial public importance. This case warrants a
second look.
       The case concerns the Texas foster care system. The district court
found, and this court agreed, that deficiencies in that system violated Texas’s
constitutional obligations to children in its care. M.D. ex rel. Stukenberg v.
Abbott, 907 F.3d 237, 264–68 (5th Cir. 2018). To remedy those violations,
the district court ordered Texas’s Department of Family and Protective
Services (DFPS), formerly under the state’s Health and Human Services
Commission (HHSC), to timely and adequately investigate certain
allegations of child abuse and neglect. See M.D. ex rel. Stukenberg v. Abbott,
730 F. Supp. 3d 354, 363 (S.D. Tex. 2024). DFPS is now a standalone agency,
but HHSC retains the responsibility to investigate allegations of abuse and
neglect of children supported by certain programs for individuals with
intellectual and developmental disabilities. The state failed to be transparent
with the district court about shortcomings in those investigations. Id. at 512.
On April 15, 2024, the court imposed a daily fine until HHSC certified that
it was substantially complying with the court’s decree in investigations closed
after December 4, 2023, as well as in investigations that remained open. Id.
at 626–27. The panel opinion, M.D. ex rel. Stukenberg v. Abbott, 119 F.4th 373
(5th Cir. 2024), concluded that these sanctions were barred by sovereign
immunity, amounted to criminal contempt without due process, and assessed
compliance with the decree too stringently. The case was reassigned.
       I respectfully disagree with the panel opinion’s analysis, starting with
the question of sovereign immunity. The panel opinion concluded that the




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district court’s fines “punish[ed]” HHSC’s “past malfeasance in violation
of the Eleventh Amendment.” Id. at 383. The opinion relied on the
distinction between “an injunction that governs the official’s future
conduct” and an award of “retroactive monetary relief,” putting the district
court’s order in the second category. Id. at 382 (quoting Pennhurst State Sch.
& Hosp. v. Halderman, 465 U.S. 89, 103 (1984)).
       Were we to grant rehearing, I do not think that reasoning would
withstand scrutiny. It cannot be deduced that relief is “retroactive” merely
because it is predicated on events in the past. The district court attempted
to coerce future compliance by imposing sanctions informed by HHSC’s
ongoing contempt for its decree. The reasoning for the court’s decision
should not be conflated with the effect of its judgment. A contempt sanction
is not retrospective in effect simply because the court considers—as it must
any time contempt is in issue—a party’s past failures to comply with the
decree.
       Neither can it be maintained that the district court ordered
“retroactive monetary relief” solely because fines are monetary. That would
be incorrect as a matter of first principles, and it is directly contradicted by
Supreme Court precedent. Even when monetary exactions in aid of an
injunction are “‘compensatory’ in nature,” that “does not change the fact
that” the underlying relief “operates prospectively” as permitted by the
Eleventh Amendment. Milliken v. Bradley, 433 U.S. 267, 290 (1977).
       Accordingly, it is completely consistent with the Eleventh
Amendment for federal courts to assess fines against state officials in civil or
even criminal contempt proceedings, as was explained in Hutto v. Finney, 437
U.S. 678, 690–91 (1978). “The principles of federalism that inform Eleventh
Amendment doctrine surely do not require federal courts to enforce their
decrees only by sending high state officials to jail.” Id. at 691. “If a state




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agency refuses to adhere to a court order, a financial penalty may be the most
effective means of insuring compliance.” Id. That is just what happened
here. HHSC refused to adhere to the district court’s order, so the district
court imposed a financial penalty as a means of ensuring compliance with that
order in the future. That was not retroactive relief, and it was not barred by
the Eleventh Amendment.
       One explanation for these missteps is that the panel opinion thought
it was proper to treat the contempt sanctions at issue as a unified punitive and
thus retrospective whole. From this, the opinion concluded not only that the
sanctions offended the Eleventh Amendment, but also that they lacked the
process required in proceedings of a criminal nature. Even setting aside
Hutto, however, there are substantial problems with that approach.
       The first problem—a matter of interpretation, but given the public
importance, one that warrants our consideration en banc—is that the
sanctions do not appear to have been punitive at all. Had HHSC certified to
the district court that investigations closed prior to the order were not in
substantial compliance and could not be effectively reopened to remedy their
defects, it is far from clear that the district court’s order would have imposed
fines upon HHSC in perpetuity for a failure of compliance that could never
be cured. Rather, the point of the order was for HHSC to rectify its failures
of transparency by certifying to the court that any deficiencies that could be
remedied had been addressed. If it was felt that the district court’s phrasing
needed clarification, the order could have simply been modified for that
purpose.
       The second and more substantial problem is that, even if the sanctions
were criminal as applied to past conduct, it takes an additional and unsteady
step to infer that the sanctions were thereby also criminal as applied to
HHSC’s future compliance. Even assuming the district court intended to




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punish HHSC for its past failures, other parts of the sanctions were clearly
meant to coerce HHSC into conforming to the decree going forward. The
panel opinion strained against precedent and logic, and perhaps even
committed the sort of error of which it accused the district court, in
concluding that the district court’s attention to the past disqualified it from
ensuring HHSC’s compliance in the future.
       The panel opinion relied on the rule that when a contempt sanction
with both criminal and civil aspects is appealed before final judgment, “the
criminal feature of the order . . . fixes its character for purposes of review”
because “jurisdiction to review that part which was civil” accompanies
interlocutory review of the criminal portion. See Union Tool Co. v. Wilson,
259 U.S. 107, 110–11 (1922). According substantive weight to this procedural
detail, the panel opinion reasoned that any punishment for past
noncompliance made the entire contempt order criminal in nature and thus
rendered it void for lack of due process. 119 F.4th at 378–82.
       In my view, that analysis was incorrect and so was the conclusion.
“[I]t does not necessarily follow” from “the review of civil contempt orders
which would otherwise not be final and appealable” that in a “‘mixed relief’
case, a Court must vacate and remand the whole proceeding for failure to
comply with criminal procedure.” FDIC v. LeGrand, 43 F.3d 163, 170 (5th
Cir. 1995). Instead, this court “need only vacate the criminal element of the
order.” Id. This has been apparent since Union Tool, which treated the
reviewability rule as procedural, see 259 U.S. at 110–11, and on the merits
sustained the “remedial, as distinguished from punitive” portion of the
contempt sanction, going so far as to say that the district court abused its
discretion in purging the defendant’s contempt, id. at 114.
       We addressed a situation like the one here in Lamar Financial Corp. v.
Adams, 918 F.2d 564 (5th Cir. 1990). There, we were also reviewing a fine




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which accrued daily for deficient compliance. Id. at 566. The fines were
found to be punitive as assessed on failures of compliance preceding a
hearing, since such failures could not be cured, but coercive as assessed on
conduct following the hearing, since the contemnors had the option to cure
the contempt. Id. We noted that the contempt order “contain[ed] both a
punitive and a coercive dimension” so would be “characterized as a criminal
contempt order” for “purposes of appellate review”—but rather than
invalidating the whole sanction for lack of due process, we vacated only the
punitive “portion of the sanction.” Id. at 567.
       I read the panel opinion primarily to say that we took a different
approach in Lamar by treating the civil and criminal parts of the single
sanction at issue as severable. See 119 F.4th at 382 n.1. I agree, and I think
the same approach was required here. Trimming any reference to the past
from the order could have been accomplished by taking out the days from
December 4 to April 15. That would have settled any doubts on this score.
       The issue of substantial compliance presents no less pressing
concerns. Over 427 pages of analysis, the district court described how
HHSC’s procedures led to ineffective and delayed investigations that left
children in harm’s way, in contrast to the procedures implemented by DFPS
under the court’s orders. The district court focused on this noncompliance
within HHSC in view of the agency’s responsibility to protect disabled
children from abuse and neglect, and determined that HHSC was out of
compliance in a majority of this especially vulnerable subset of cases. The
panel opinion rejected this analysis, stating that the district court should have
instead compared noncompliance with the overall rate of compliance across
the state. Id. at 384–85.
       But the panel opinion did not remand for factfinding according to that
standard. Instead, the panel presented a series of calculations and then




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affirmatively concluded that the defendants, assessed together, were in
substantial compliance. Id. at 385. No legal justification for that conclusion
appears anywhere in the opinion. At no point is set forth any “judicially
manageable standard,” cf. Vieth v. Jubelirer, 541 U.S. 267, 291 (2004)
(opinion of Scalia, J.), indicating that compliance, in whatever way measured,
was substantial.
       I doubt that relegating disabled children, who are most at risk of abuse
and neglect in the foster system, to a separate and inferior system of
investigations pencils out to substantial compliance under even the most
austerely mathematical of standards. Were we to remand, the district court
might well reason that HHSC’s systematic failure to protect those most
vulnerable to mistreatment was not consistent with substantial compliance.
The district court might take the view that it is inappropriate to treat disabled
children, simply because they are fewer in number than other children, as
“just a drop in the bucket.” See 119 F.4th at 385. Such a view would be in
line with what we “expect[]” in “a civilized and decent society,” and I see
no reason to doubt that this is among those “vast majority of situations” in
which consideration of the special needs of the most vulnerable among us “is
not only legitimate but also desirable.” See City of Cleburne v. Cleburne Living
Ctr., 473 U.S. 432, 444 (1985).
       This all brings us to the removal of Judge Jack from this case that she
has been shepherding for over a decade. I question whether the foregoing
errors may have helped to support the decision to reassign the case and would
submit accordingly that this part of the panel’s decision warrants our
reconsideration as well.
       As a court of review rather than first view, we should exercise the
utmost restraint in removing district court judges from cases, especially
based on sharp and sarcastic statements to counsel of a kind that we have




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been known to deploy ourselves. The panel thought that Judge Jack was
inappropriately “telegraph[ing]” her “leanings.” 119 F.4th at 393. But
district court judges, sitting alone in yearslong dialogue with counsel (unlike
us), often have justifications and excuses for these kinds of statements.
       We typically allow district court judges to make statements that reflect
familiarity with the litigation. See Liteky v. United States, 510 U.S. 540, 551
(1994). “If the judge did not form judgments of the actors in those court-
house dramas called trials, he could never render decisions.” Id. (quoting In
re J.P. Linahan, Inc., 138 F.2d 650, 654 (2d Cir. 1943) (Frank, J.)). And here,
we are dealing with administration of managerial devices at the remedies
stage, not prejudgment of a case that has just been filed on the docket. See
Samuel L. Bray, The System of Equitable Remedies, 63 UCLA L. Rev. 530, 564–
67 (2016). We should be cautious about generalizing indicia of partiality from
our pretrial precedents to the setting where a veteran judge is steadily
administering a remedy for a constitutional violation that has already been
adjudged (and upheld on appeal).
       I am particularly untroubled by Judge Jack’s diligent attention to the
interests of the children in the Texas foster care system. See 119 F.4th at 388,
389, 392, 393. Equity moderates the rigors of the law, and therefore demands
appropriate consideration for those who are least able to mount a vigorous
offense by legal right alone. To extend the chancellor’s protection over those
children who have too little else to shelter them from the perils of the world
is not partiality but traditional equity practice. See, e.g., Clitherall v. Ogilvie,
1 S.C. Eq. (1 Des. Eq.) 250, 261 (S.C. Ch. 1792).
       I respect the panel’s assessment of the considerable record compiled
by Judge Jack during her decade-plus involvement with this crisis. But our
decision today as a full court to leave things as they are strikes me as resting
on miscalculations. I worry that we have concluded, from Judge Jack’s




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assiduous effort in the face of structural friction and intense factual
complexity, from remarks based in at best a desire to expeditiously give effect
to the Constitution and at worst human error of a nature with regard to which
we have perhaps not always set the best example, that Judge Jack is not suited
to preside over this case for precisely the reasons that she is suited to preside
over this case. I fear that we have inadvertently decided that we cannot leave
the case with a district court judge who is deeply familiar with the parties and
their conduct and with the substantial public interests at stake. At the very
least, I question whether we have met the exceedingly high threshold for
removing an Article III colleague.
       It is fundamental in our historic liberties that the state may not set
aside due process of law in the care of its wards. But today, we turn away the
children protected by those guarantees and shut the doors of this court. On
the other side, with them, is Supreme Court precedent and our own case law
and the familiarity built by a fellow inferior court judge over many long years.
On the other side is abuse and neglect, put out of sight of the law once more.
We should rehear this case. I respectfully dissent.




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